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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DEBRA FRAZIER,                       :
                                     :
                  Plaintiff,         :
                                     :
                         v.          :     Civil Action No. 18-3121
                                     :
CITY OF PHILADELPHIA, et al.,        :
                                     :
                  Defendants.        :


                                    ORDER


      AND NOW, this _____ day of ___________, 2018, upon consideration of

Defendants City of Philadelphia and Commissioner Richard Ross, Jr.’s Motion to

Dismiss, and any response thereto, it is hereby ORDERED that the Motion is

GRANTED. Plaintiff’s claims are dismissed with prejudice.




                                     BY THE COURT:



                                     _________________________
                                     Timothy J. Savage, J.
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DEBRA FRAZIER,                         :
                                       :
                   Plaintiff,          :
                                       :
                          v.           :       Civil Action No. 18-3121
                                       :
CITY OF PHILADELPHIA, et al.,          :
                                       :
                   Defendants.         :



  DEFENDANTS CITY OF PHILADELPHIA AND COMMISSIONER RICHARD
   ROSS, JR.’S SECOND MOTION TO DISMISS FOR FAILURE TO STATE A
                              CLAIM


      Defendants City of Philadelphia and Commissioner Richard Ross, Jr., file

this Motion to Dismiss for Failure to State a Claim under Fed. R. Civ. Pro. 12(b)(6),

seeking that this Court dismiss the claims against them on the grounds described in

the supporting memorandum of law.


                                                      Respectfully Submitted,

                                                      CITY OF PHILADELPHIA
                                                      LAW DEPARTMENT

Date: September 11, 2018                        BY:    s/ Christopher H. Rider
                                                      Christopher H. Rider
                                                      Divisional Deputy City Solicitor




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DEBRA FRAZIER,                            :
                                          :
                      Plaintiff,          :
                                          :
                             v.           :       Civil Action No. 18-3121
                                          :
CITY OF PHILADELPHIA, et al.,             :
                                          :
                      Defendants.         :



    DEFENDANTS CITY OF PHILADELPHIA AND COMMISSIONER RICHARD
     ROSS, JR.’ MEMORANDUM OF LAW IN SUPPORT OF THEIR SECOND
          MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


         Defendants City of Philadelphia and Commissioner Richard Ross, Jr., submit

this Memorandum of Law in support of their Second Motion to Dismiss for Failure

to State a Claim under Fed. R. Civ. P. 12(b)(6). Plaintiff’s First Amendment claims

should be dismissed because Plaintiff has failed to allege facts from which a

plausible inference can be drawn that her protected activity was a substantial factor

in the Commissioner Ross’ alleged refusal to promote her in 2016.

    I.      FACTUAL SUMMARY1

         Plaintiff Debra Frazier is a staff inspector with the City of Philadelphia

Police Department who, in 2011, filed a sexual harassment lawsuit against the City




1For the purposes of this Motion to Dismiss, Defendant accepts the facts as pled by
Plaintiff as true.


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of Philadelphia, in which Commissioner Ross was deposed in an allegedly

embarrassing manner. Id. ¶¶ 6-11.

         Plaintiff later took the 2014 chief police inspector promotional examination

and was ranked sixth on the resulting list of candidates eligible for promotion. Id.

¶¶ 12-13. Plaintiff has alleged that, after the City published the list, four

candidates were removed from the list, leaving her ranked second. Id. ¶¶ 14.

Plaintiff has also alleged that, in late 2015, a Fraternal Order of Police official told

her that Commissioner Ross had told that official that he intended to promote the

top two ranked individuals on the list to chief inspector, which Plaintiff understood

to mean that she would be promoted. Id. ¶¶ 16-18. Commissioner Ross allegedly

changed his mind and did not promote any other candidates to chief inspector from

the 2014 eligible list. Id. ¶¶ 19-20. The 2014 eligible list expired in the spring of

2016; once the City established a new list, Commissioner Ross promoted two

individuals to chief inspector. Id. ¶ 21.

         According to Plaintiff, Defendants violated Plaintiff’s First Amendment

rights when Commissioner Ross refused to promote her (and at least one other

individual) from the 2014 list due to her prior lawsuit. Id. ¶ 22.

   II.      STANDARD OF REVIEW

         To survive a motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In deciding a motion to dismiss, a court

must determine whether the complaint “pleads factual content that allows the court



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to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

stops short of the line between possibility and plausibility of entitlement to relief.”

Id.

           “The tenet that a court must accept as true all of the allegations contained in

a complaint is inapplicable to legal conclusions.” Id. at 678. “Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Id.     Further, “only a complaint that states a plausible claim for relief

survives a motion to dismiss.” Id. at 679.

      I.      ARGUMENT

              A. PLAINTIFF’S FIRST AMENDMENT CLAIM FAILS BECAUSE SHE
                 HAS FAILED TO ALLEGE FACTS FROM WHICH A PLAUSIBLE
                 INFERENCE MAY BE DRAWN THAT HER PROTECTED ACTIVITY
                 WAS A SUBSTANTIAL FACTOR IN THE CITY’S REFUSAL TO
                 PROMOTE HER.

           Plaintiff has not pled adequate facts from which this Court may infer that

Commissioner Ross’ decision not to promote her was causally connected to her

protected activity, as the temporal gap between any protected activity and any

alleged retaliation is too great to support an inference of causation, and Plaintiff’s

own allegations show that she believes it was Commissioner Ross’ embarrassment




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at his performance during a deposition in this matter that caused his animus

towards Plaintiff, not the content of her speech.

      To successfully pursue a First Amendment retaliation claim, public employee

plaintiffs must prove that their activity was protected by the First Amendment, and

that the protected activity was a substantial factor in any alleged retaliatory action.

Kovac v. Pennsylvania Turnpike Com’n, 444 Fed. Appx. 588, 590 (3d Cir. 2011)

(citing Hill v. Borough of Kutztown, 455 F.3d 225, 241 (3d Cir. 2006)). A causal link

between the protected activity and the allegedly-retaliatory action may be proven by

either “(1) an unusually suggestive temporal proximity between the protected

activity and the alleged retaliatory action, or (2) a pattern of antagonism coupled

with timing to establish a causal link,” or (3) “from the ‘evidence gleaned from the

record as a whole.’” Lauren W. v. DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007). “To

be probative of causation, ‘the timing of the alleged retaliatory action must be

unusually suggestive of retaliatory motive before a causal link will be inferred.’”

Cucci v. Kagel, No. 17-1597, 2018 WL 3752880, at *3 (E.D.Pa. Aug. 8, 2018)

(quoting Thomas v. Town of Hammonton, 351 F.3d 108, 114 (3d Cir. 2003)).

“Passage of nearly six weeks between” protected activity and retaliatory action “is

not unusually suggestive of retaliatory motive.” Cucci at *3; see also Thomas, 351

F.3d at 114 (finding temporal proximity not unduly suggestive when three weeks

elapsed between protected activity and retaliatory action); Price v. City of

Philadelphia, 239 F.Supp. 3d 876, 890 (a sixteen-month gap between protected

activity and retaliatory action is not unusually suggestive).



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      First, to the extent Plaintiff is arguing that Commissioner Ross refused to

promote her because she filed a lawsuit in 2011, Plaintiff has failed to adequately

plead a causal connection between that lawsuit and the alleged retaliation.

According to Plaintiff, there was a 4 or 5-year gap between when she filed her

lawsuit and any retaliation. Although Plaintiff could bridge that gap with evidence

of an intervening pattern of antagonism, or some other probative evidence of

causation, she has failed to do so. Accordingly, Plaintiff has failed to adequately

plead a causal connection between her lawsuit and Commissioner Ross’ refusal to

promote her.

      Second, Plaintiff alleges that the reason Commissioner Ross refused to

promote her was because he was embarrassed during a deposition for her 2011

lawsuit. Am. Compl. ¶ 11. Needless to say, this allegation belies Plaintiff’s

argument that there was a causal connection between her protected activity and

any retaliation; according to Plaintiff herself, Commissioner Ross “held a grudge

against Plaintiff” because of an embarrassing incident that occurred during her

lawsuit, not the lawsuit itself, or any other protected activity.

      Accordingly, because Plaintiff has failed to provide evidence from which this

Court may draw a reasonable inference of causation between her protected activity

and any retaliatory action, this Court should dismiss her First Amendment

retaliation claims against the City and Commissioner Ross.




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VI.   CONCLUSION

      Defendants City of Philadelphia and Commissioner Richard Ross, Jr.

respectfully request that this Honorable Court grant this Motion and dismiss

Plaintiff’s claims with prejudice.



                                                    Respectfully Submitted,

                                                    CITY OF PHILADELPHIA
                                                    LAW DEPARTMENT

Date: September 11, 2018                      BY:     s/ Christopher H. Rider
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CITY OF PHILADELPHIA, et al.,         :
                                      :
                   Defendants.        :



                           CERTIFICATE OF SERVICE


      I hereby certify that on the date below, the foregoing Motion to Dismiss and

Memorandum of Law has been filed electronically and is available for viewing and

downloading.



                                                    Respectfully Submitted,

                                                    CITY OF PHILADELPHIA
                                                    LAW DEPARTMENT

Date: September 11, 2018                      BY:    s/ Christopher H. Rider
                                                    Christopher H. Rider
                                                    Divisional Deputy City Solicitor
